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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                 Plaintiffs,                                 4:13CR3111
     vs.
                                                  MEMORANDUM AND ORDER
SNEHABEN P. PATEL,
                 Defendants.



     IT IS ORDERED:

     1)    The motion of attorney Joshua Barber to withdraw as counsel of record for
           defendant Snehaben P. Patel, (filing no. 19), is granted.

     2)    The clerk shall delete Mr. Barber from any future ECF notifications herein.

     September 19, 2013.

                                              BY THE COURT:
                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
